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 3                                                                              DISTRICT OF CALIFORNIA
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 8                               UNITED STATES DISTRICT COURT
 9                               CENTRAL DISTRICT OF CALIFORNIA
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ii UNITED STATES OF AMERICA,                            Case No. 8:2i-CR-000i3-CJC
12 I                        Plaintiff,
i3                          v.                          ORDER OF DETENTION AFTER
                                                        HEARING
i4     HERNPERTO CISNEROS-TOSCANO
                                                        [Fed. R. Crim. P. 32.i(a)(6); i8 U.S.C.
i5                          Defendant.                  § 3143~a)~
i6

i~            The defendant having been arrested in this District pursuant to a warrant issued
i8     by the United States District Court for the Central District of California for alleged
ig     violations of the terms and conditions of his/her supervised release; and
20            The Court having conducted a detention hearing pursuant to Federal Rule of
21     Criminal Procedure 32.~(a)(6) and i8 U.S.C. § 3i43(a), hereby finds the following:
22            A. (x) The defendant has not met his/her burden of establishing by clear and
23               convincing evidence that he/she is not likely to flee if released under i8 U.S.C.

24               § 3i42(b) or (c).
25            B. (x) The defendant has not met his/her burden of establishing by clear and
26               convincing evidence that he/she is not likely to pose a danger to the safety of

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      Case 8:21-cr-00013-CJC Document 24 Filed 11/29/21 Page 2 of 2 Page ID #:102




 1            any other person or the community if released under i8 U.S.C. § 3i42(b) or
2             (C~.

3          These findings are based on: nature ofcurrent allegations which is that

4 Defendantfailed to appearfor hisfinal revocation hearing which reflects
5    unwillingness to comply with the terms ofhis supervised release; history ofsubstance
6    abuse; nature ofcriminal history; lack of bail resources; an unverified background

 7 ' and pretrial services recommendation to detain.
8          IT THEREFORE IS ORDERED that the defendant be detained pending the final

9    revocation proceedings.
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11   Dated:     l ~                                          -~
                                                      NORABLE A UMN D. SPAETH
12                                                 United States Magistrate Judge
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